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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF NEW YORK

    FIVE STAR BANK,
                                             Plaintiff,
                                V.

    KATHERINE MOTT; ROBERT HARRIS; KRM                                 CASE NO. 6:24-CV-06153-FPG
    EVENTS, LLC; KATHERINE’S ON MONROE, LLC;
    THE DIVINITY ESTATE AND CHAPEL, LLC; KNC
                                                                       SECOND MONTHLY
    ELEGANCE, LLC D/B/A THE WINTERGARDEN BY
                                                                       ACTIVITY REPORT OF
    MONROES; 11 WEXFORD GLEN, LLC; RCC
                                                                       MARK R. KERCHER, CPA,
    MONROES LLC; NAF REMODELING LLC;
                                                                       RECEIVER
    MONROES AT RIDGEMONT LLC CRESCENT
    BEACH AT THE LAKE LLC; MOTT
    MANAGEMENT LLC; KRISTINA BOURNE;
    TAYLOR PAGANO; TIMOTHY LAROCCA,
                                             Defendants.


        Pursuant to the Order appointing Receiver dated April 8, 2024 (Docket No. 39)1 (the

“Receiver Appointment Order”), Mark R. Kercher, CPA, I was appointed Receiver for the

Defendant Entities by the United States District Court for the Western District of New York in the

above-captioned action (“Lawsuit”).

        For my second monthly activity report, which covers the period June 1, 2024, through June

30, 2024, I hereby submit the following:

        I.       APPOINTMENT OF RECEIVER AND BACKGROUND

        1.       Effective April 8, 2024, I was appointed Receiver by this Court to, among other

things, take immediate control of the financial affairs, including all cash, assets, books, and records

of the Defendant Entities.




1
 Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in the
Receiver Appointment Order.

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       2.       Among my enumerated powers and duties, I was authorized to make payments and

disbursements in the ordinary course of business as needed and proper for the continued operations

of the Defendant Entities’ businesses.

       II.      RECEIVER’S ACTIVITIES

       A.       Financial Management and Control

       3.       The initial April through May period required fairly intense activity around

obtaining bank account control, establishing new banking relationships, and reestablishing normal

vendor payment protocols. Beginning in June, the day-to-day activity became relatively routine,

largely focused on weekly, even daily, cash projections, determination of vendor priorities and

authorizing payments based on cash availability.

       4.       Operating cash flow improved from increased summer activity in the restaurant

venues and special events, such that the Defendant Entities were able to meet payrolls without

reducing workforce and to keep all critical food and beverage vendor payments current assuring no

disruption in supply. Additionally, all lease obligations, insurances and payroll were kept current

during June. The Defendant Entities were able to accommodate all events previously booked

without difficulty.

       5.       Routine processes have been established with Defendant Entities’ management and

staff whereby all disbursements are made only after my documented approval and all invoices are

reviewed and maintained in a database established by my assistant. All business activities are

accounted for under a separate accounting system maintained by the assistant.

       B.         Protect and Preserve Entity Defendant Assets and Future Revenue Streams

       6.       On June 21, 2024, the Defendant Entities commenced a lawsuit in the State of New

York Supreme Court of Monroe County against Community Bank N.A. (“CBNA”) seeking



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damages in the amount of approximately $594,000.00, which sum, according to the complaint,

represents the aggregate amounts on deposit with CBNA in accounts maintained by the Defendant

Entities as to which CBNA restricted the Defendant Entities’ access on March 8, 2024. The

Defendant entities allege in the lawsuit that the amounts on deposit at CBNA were thereafter

transferred by CBNA to Five Star Bank on or around March 28, 2024. The transferred funds

included approximately $284,000.00 of customer receipts generated subsequent to the March 11,

2024 commencement of this Lawsuit, as I discussed in my first monthly Activity Report. I continue

to be hopeful that the $284,000.00 will be returned to the Defendant Entities in order to provide the

receivership with needed working capital. That said, the litigation was just commenced, which

means that, unless there is an early settlement, a near-term recovery of these funds is unlikely.

       7.       The Defendant Entities currently operate the food and beverage service at

Ridgemont Country Club under a lease arrangement. The lease expires August 31 and, under mutual

agreement, will not be renewed. The closure of this business is not expected to significantly affect

future revenue streams.

       C.      Other Actions of the Receiver

       8.       As discussed in my first Activity Report, I requested and received bank statements

from Kinecta Federal Credit Union in late May. Additional information was requested in June,

which included all electronic images of deposit and withdrawal activity. Having secured Kinecta’s

consent, I advised counsel for the Defendants and the Plaintiff that the Kinecta information would

be made available to the parties upon request.

       III. LIQUIDITY AND WORKING CAPITAL

       9.       Since the first activity report, the financial condition has improved. On June 30, a

Defendant Entity, Mott Management LLC, closed the sale of two rental houses generating



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approximately $576,000 in net proceeds. At closing, the proceeds of sale were wired directly into

a Receiver-controlled bank account. The proceeds of the sale have and will be used to eliminate

past-due payroll and sales tax obligations, as well as to fund current operating costs.

       10.     The Defendant Entities have significant borrowed money debt and construction cost

obligations outstanding, which will require further restructuring or capital-raising activity in the

coming months. The Defendant Entities and their counsel have advised me that they are developing

plans to address these obligations.

       11.     Attached to this report as Exhibit A is an unaudited financial presentation prepared

from Defendant Entities' books, records, and other documentation. The financial presentation

reflects sources and uses of cash for the period May 16 through June 30, 2024.

                                          CONCLUSION

        12.      As noted previously, I have received full cooperation from management of the

Defendant Entities and from Five Star Bank, in its capacity as banking institution for the Defendant

Entities, for which I am appreciative.

        13.     Going forward, I anticipate the coming month will see a continuation of relatively

stable ordinary-course business activity, coupled with planning activities around capital needs.

Should the Court have any questions or concerns in response to this report, I am happy to offer a

supplement or to appear before the Court.

Dated: July 16, 2024                                          Respectfully Submitted,




                                                              Mark R. Kercher, CPA, Receiver




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